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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

KENNETH SMITH, on his own
behalf and on behalf of others
similarly situated,
CASE NO.:
Plaintiff(s),
v.

DOLLAR TREE STORES, INC.,

Defendant.
/

COMPLAINT & DEMAND FOR JURY TRIAL

Plaintiff, KENNETH SMITH (hereinafter refered as “Plaintiff"), on
behalf of himself and other non~eXeinpt Assistant Store Managers (“ASM’s”),
by and through undersigned eounsel, file this Coinplaint against Defendant,
DOLLAR TREE STORES, INC. (“DTS” or “Defendant”) and state as
folloWs:

NATURE OF THE ACTION

l. Plaintiff alleges on behalf of himself and other similarly situated current
and former non-exempt Assistant Store Manager (“ASl\/l’s”) employees of the

Defendant, Who elect to opt into this action, pursuant to the Fair Labor

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Standards Ac_t (“FLSA”)j 29 U.S.C. §§ 216(b), that they are: (i) entitled to
unpaid overtime Wages from Defendant, (ii) entitled to unpaid minimum
Wages (iii) entitled to liquidated damages pursuant to`the FLSA, 29 U.S.C.
§§201 et squ (iv) entitled to damages under the common law doctrine of unjust
enrichment; and (v) declaratory relief pursuant to 28 U.S.C. §2201.
2. Specifically, Plaintiff complains that he, as Well as other similarly
situated ASl\/[’s, Were regularly required to Work off-the-clock, as a result of
Defendant’s nationwide corporate policy, Whereby each “Dolla_r Tree” and
“Deal$” store, operated by Defendant, had/has a strict amount of budgeted
hours, allowable for employees’ labor.
3. Based on Defendant’ s nationwide policies requiring off-the-clocl< Work,
Plaintiff, and those employees similarly situated to Plaintiff, Were not paid the
statutorily required minimum Wage and/or overtime premiums for all hours
Worked.

JURISDICTION
4. Jurisdiction in this Court is proper as the claims are brought pursuant to
the Fair Labor Standards Act, as amended (29 U.S.C. §2()1, e_t sick hereinafter
called the “FLSA”) to recover unpaid back Wages, an additional equal amount

as liquidated damages, obtain declaratory relief, and reasonable attorney’s fees

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and costs.

5. The jurisdiction of the Court over this controversy is based upon 29

U.S.C. §216(b).

6. This Court has the authority to grant declaratory relief pursuant to the

FLSA and the Federal Declaratory Judgment Act (“DJA”), 28 U.S.C. §§

2201-02.

7. This Court has jurisdiction over the unjust enrichment claims pursuant to

28 U.S.C. §1367.

8. Venue is proper in this Court because the Plaintiff resides Within the

District and Defendant maintains business operations Within the District.
PARTIES

9. At all times material hereto (2008-2011), Plaintiff, KENNETH SMITH,

Was a resident of Cobb County, Georgia.

iO. Further at all times material hereto, Plaintiff, KENNETH SMITH, Was

an non-exempt ASM’s and performed related activities for Defendant in Cobb

County, Georgia, among other counties

ll. At all times material hereto Defendant, DTS, Was, and continues to be

a Foreign Profit Company.

12. At all times material hereto, Defendant, DTS, Was, and continues to be,

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engaged in business in Georgia, With a place of business in Cobb County,

Georgia.

13. Defendant, operates a total of over 4,000 retail store outlets under the

“Dollar Tree” and “Deal$” brand names, throughout the United States.
COVERAGE

14. At all times material hereto (20()8-2011), Plaintiff Was Defendant’s

“employee” Within the meaning of the FLSA.

15. At all times material hereto, Defendant Was the Plaintiff`s “employer”

Within the meaning of the FLSA.

16. Defendant Was, and continues to be, an “employer” Within the meaning

of the FLSA.

17. At all times material hereto, Defendant Was, and continues to be, “an

enterprise engaged in commerce” Within the meaning of the FLSA.

18. Specifically, at all material times hereto, Defendant operated over four

thousand (4,()00) retail stores in multiple states, throughout the United States

simultaneously

19. At all times material hereto§ Defendant Was, and continues to be, an

enterprise engaged in the “production of goods for commerce” Within the

meaning of the FLSA.

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20. At all times material hereto, the annual gross revenue of Defendant was

in excess of $500,000.00 per annum.

2l. At all times material hereto, Defendant had two (2) or more employees

handling, selling, or otherwise working on goods or materials such as cleaning

supplies, toys, floral supplies, arts and crafts, personal hygiene items, etc., that

had been moved in or produced for commerce

22. At all times hereto, Plaintiff was “engaged in commerce” and subject to

individual coverage of the FLSA.

23. At all times hereto, Plaintiff was engaged in the “production of goods

for commerce” and subject to the individual coverage of the FLSA.
STATEl\/[ENT OF FACTS

24. Defendant operates DTS stores throughout the United States, where

they sell all merchandise for one dollar ($l.OO).

25. DTS is able to sell its goods atjust $l.OO each by importing 40 to 45%

of its products from foreign countries, and buying the remaining 55-60%

domestically, largely by purchasing “ciose out” merchandise

26. On average, each DTS store carries 6,000 items at any given time

Defendant ensures such a volume of items in all of its stores, by daily

deliveries to each of its stores of new merchandise

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27. Plaintiff was employed by Defendant as non-exempt hourly-paid
ASM’s.

28. Plaintiff, KENNETH SMITH, worked in this capacity from
approximately 2009 through 2011.

29. As ASl\/l’s, Plaintiff was paid hourly wages in exchange for work
performed for Defendant

30. Defendant employed hundreds, if not thousands, of ASM’s who were
paid an hourly wage as well.

31. Plaintiff and those similarly situated to him, routinely worked in excess
of forty (40) hours per week as part of their regular job duties

32. Despite working more than forty (40) hours per week, Defendant failed
to pay Plaintiff, and those similarly situated to him, overtime compensation at
a rate of time and a half their regular rate of pay for hours worked over forty in
a workweek.

33. Similarly, Defendant failed to pay Plaintiff, and those similarly situated
to him, at least the minimum wage for all hours of work.

34. Defendant’s failure to pay Plaintiff, and those similarly situated to him,

minimum wage and/or overtime premiums, resulted from a nationwide pay

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policy, whereby all of Defendant’s stores required ASM’s to work
off-the-clock.

'35. Such nationwide off-the-clock policy resulted directly from
Defendant’s unrealistic mandated budgeted hours for each store, as dictated by
Defendant’s high-level executives

36. Such unrealistic, mandatory budgeted hours, were and are in place at all
of Defendant’s stores nationwide

37. ln order to maintain labor hours, as required by the budgeted hours
program that DTS dictates to all of its stores, the in-store management require
the ASl\/l’s to work off-the-clock, or work without recording at least some of
their hours worked

38. Defendant was aware of the off the clock hours performed by Plaintiff
and the class members

39. ln addition to Plaintiff, Defendant has employed and continues to
employ hundreds, if not thousands, of other individuals as ASl\/[’s who
performed and continue to perform the same or similar job duties under the

same pay provision as Plaintiff and the class members nationwide

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40. Defendant was unjustly enriched by accepting the benefit and value of
the off the clock work performed by its ASl\/l’s but not compensating Plaintiff
for this work.
4l. Defendant has violated Title 29 U.S.C. §§206-207 at least from luly
2008 and continuing to date, in that: Plaintiff worked in excess of forty (40)
hours per week for her periods of employment with Defendant;
a. No payments, or insufficient payments and/or provisions for
payment, have been made by Defendant to properly compensate
Plaintiff at the statutory rate of one and one-half times PlaintifF s
regular rate for those hours worked in excess of forty (40) hours
per work week as provided by the FLSA; and
b. No payments, or insufficient payments and/or provisions for
payment, have been made by Defendant to properly compensate
Plaintiff at a rate equal to the applicable Federal minimum wage,
for all hours worked, as required by the FLSA.
COLLECTIVE ACTION ALLEGATIONS
42. Plaintiff and the class members were all hourly-paid ASM’s and
performed the same or similar job duties as one another such as sales, stocking,

scheduling, freight processing, processing reports, opening and closing

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procedures and customer service on behalf of Defendant to their customers on
the sales floor.

43. Further, lPlaintiff and the class members were subjected to the same pay
provisions in that they were all hourly-paid, but were not compensated at
time-and-one-half for all hours worked in excess of 40 hours in a workweek
and/or were not paid anything whatsoever, for at least some hours of work
each week.

44. ASl\/ls were typically required to take an unpaid lunch break if they were
scheduled to work a shift of six (6) or more hours

45. _ However, ASl\/l’s were rarely allowed to take an uninterrupted lunch
break if they were scheduled to work a shift of six (6) or more hours

46. During these mandatory thirty (3 0) minute “unpaid meal breaks,”
ASl\/[’s were not permitted to leave the premises of the store at which they
were working

47. This was due to Defendant’s uniform personnel policy requiring at least
one (l) ASl\/l or Store Manager to be on duty at all times during working hours,
as well as Defendant’s requirement that a minimum of two (2) in-store
employees be on duty at all times

48. Because ASl\/[’s were often scheduled with only one (l) other employee

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on duty, ASl\/l’s were required to work through their thirty (3 0) minute breaks
on almost all scheduled shifts.

49. Further, because only ASl\/[’s or Store l\/lanagers (not other hourly
employees) were allowed to perform certain duties in the store, such as
re-stocking the change in a register, or dealing with an unruly customer,
ASl\/l’s were constantly required to work through their “unpaid meal hreaks”
while off-the-clock.

50. As a result, ASl\/l’s were virtually never able to take a thirty (3 0) minute
uninterrupted breaks

5 l. Notwithstanding the fact that ASl.\/[’s were virtually never able to take a
thirty (30) minute uninterrupted break, Defendant required that each ASl\/l
record a thirty (30) minute “unpaid meal break” in all shifts in which they
worked six (6) or more hours

52. ln addition ASl\/l’s also frequently performed work off-the-clock due to
Defendant’s nationwide policy requiring that each store deposit its daily
receipts for in-store sales prior to the opening of the store the following day.
53. Specifically, Defendant required ASl\/l’s, at all of its Georgia stores to
complete bank drops subsequent to the time they had clocked out for the day

and prior to the time the clocked in for the next day.

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54. Thus, the class members are owed minimum and overtime wages for the
same reasons as Plaintiff.
55. Defendant’s failure to compensate employees for some hours worked in
a workweek as required by the FLSA results from a policy or practice of
failure to assure that ASl\/l’s are/were paid for all hours worked based
Defendant’s companywide policy of mandating off-the-clock work, to ensure
that the labor hours in each store stay within the hours budgeted for the store
by Defendant’s management
56. This policy or practice was applicable to Plaintiff and the class
members Application of this policy or practice does/did not depend on the
personal circumstances of Plaintiff or those joining this lawsuit. Rather, the
same policy or practice which resulted in the non-payment of minimum wages
and/or overtime to Plaintiff applied and continue to apply to all class members
Accordingly, the class members are properly defined as:
All Assistant Store Managers who worked for Defendant
within the state of Georgia within the last three years Who
were not compensated at least minimum wage for all hours
worked and/or at least at time-and-one-half for all hours
worked in excess of 40 hours in one or more Workweeks.

57. Defendant knowingly, willfully, or with reckless disregard carried out

its illegal pattern or practice of failing to pay overtime compensation with

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respect to Plaintiff and the class members
58. Defendant did not act in good faith or reliance upon any of the following
in formulating its pay practices:

(a) case law;

(b) the FLSA, 29 U.S.C. § 201, et seq.; or

(c) Department of Labor Wage & Hour Opinion Letters or (d) the

Code of Federal Regulations.
59. During the relevant period, Defendant violated § 7(a)(l) and § 15(a)(2),
by employing employees in an enterprise engaged in commerce or in the
production of goods for commerce within the meaning of the FLSA as
aforesaid, for one or more workweeks without compensating such employees
for their work at a rate at least equal to minimum wage and/or at least the
time-and-one-half for all hours worked in excess of 40 hours in a work week.
60. Defendant has acted willfully in failing to pay Plaintiff and the class
members in accordance with the law.
61. Defendant has failed to maintain accurate records of Plaintiff and the
class members’ work hours in accordance with the law.
CLASS ALLEGATIONS

62. Plaintiff sues on his own behalf and on behalf of a class of persons under

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Rules 23(a), (b)(2) and (b)(?)) of the Federal Rules of Civil Procedure.

63. Plaintiff brings his unjust enrichment claim on behalf of all employees
who were employed by Defendant in Georgia at any time since July 2008 to
the entry of judgment in this case (the “Class Period”), who were “non-exempt
hourly paid assistant store managers” employees within the State of Georgia
and who have not been paid for all hours actually worked

64. The persons in the Class identified above are so numerous that joinder
of all members is impracticable Although the precise number of such persons
is unknown, and the facts on which the calculation of that number are presently
within the sole control of the Defendant, upon information and helief, there are
hundreds of members of the Class during the Class Period.

65. The claims of Plaintiff are typical of the claims of the Class, and a class
action is superior to other available methods of fair and efficient adjudication
of the controversy - - particularly in the context of wage and hour litigation
where an individual plaintiff lacks the financial resources to vigorously
prosecute a lawsuit in federal court against corporate defendants

66. The Defendant has acted or refused to act on grounds generally
applicable to the class, thereby making appropriate final injunctive relief or

corresponding declaratory relief with respect to the class as a whole

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67. Application of this policy or practice does/did not depend on the
personal circumstances of Plaintiffs or those joining this lawsuit. Rather, the
same policy or practice which resulted in the non-payment of overtime to
Plaintiffs applied, and continues to apply, to all class members Accordingly,
the class members are properly defined as:

All assistant store managers who worked for Defendant

throughout Georgia within the last five years who were not

paid for all hours worked in one or more workweeks.
68. Plaintiff is committed to pursuing this action and has retained competent
counsel experienced in employment law and class action litigation
69. Plaintiff has the same interests in this matter as all other members of the
class and Plaintiff s claims are typical of the Class
70. There are questions of law and fact common to the Class which
predominate over any questions solely affecting the individual members of the
Class, including but not limited to:

a. Whether Plaintiff and members of the Class worked off the clock

hours as alleged;
b. Whether Defendant was aware that Plaintiff and members of the

Class worked off the clock hours as alleged;

c. Whether the Defendant failed to keep true and accurate time

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records for all hours worked by Plaintiff and members of the
Class;

d. What proof of hours worked is sufficient where employers fail in
their duty to maintain time records;

e. Whether Defendant failed and/or refused to pay the members of
the Class for all hours worked as alleged;

f. Whether the Defendant is liable for all damages claimed
hereunder, including but not limited to, costs, disbursements and
attorney’s fees

COUNT I
RECOVERY ()F OVERTIME COl\/IPENSATION

71. Plaintiff re-alleges and re-avers paragraphs l through 70 the Complaint
as if fully set forth herein.

72. From at least 2009, and continuing through 2011, Plaintiff worked in
excess of the forty (40) hours per week for which Plaintiff was not
compensated at the statutory rate of one and one-half times Plaintiff’s regular
rate of pay.

73. Plaintiff was, and is entitled to be paid at the statutory rate of one and

one-half times Plaintiff s regular rate of pay for those hours worked in excess

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of forty (40) hours

74. At all times material hereto, Defendant failed, and continues to fail, to
maintain proper/accurate time records as mandated by the FLSA.

75. To date, Defendant continues to fail to pay their non-exempt
hourly-paid employees their FLSA mandated overtime pay, despite their
recognition that their position is non-exempt and entitled to same

76. Defendant’s actions in this regard was/is willful and/or showed/show
reckless disregard for the provisions of the FLSA as evidenced by its
continued failure to compensate Plaintiff at the statutory rate of one and
one-half times Plaintiff’s regular rate of pay for the hours worked in excess of
forty (40) hours per weeks when they knew, or should have known, such was,
and is due

77. Defendant has failed to properly disclose or apprise Plaintiff of
Plaintiff s rights under the FLSA.

78. Due to the intentional, willful, and unlawful acts of Defendant, Plaintiff
suffered and continue to suffer damages and lost compensation for time
worked over forty (40) hours per week, plus liquidated damages

79. Plaintiff is entitled to an award of reasonable attorney’s fees and costs

pursuant to 29 U.S.C. §216(b).

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COUNT ll
RECOVERY OF MINIMUM WAGES

80. Plaintiff reincorporates and readopts all allegations contained within
Paragraphs l through 70 above

81. Plaintiff was/is entitled to be paid minimum wage for each hour they
worked during their employment with Defendant

82. Plaintiff has demanded proper compensation for one or more weeks of
work with Defendant, but Defendant has refused and/or failed to compensate
them for the same

83. As a result of Defendant’s actions or inactions in this regard, Plaintiff
has not been paid the minimum wage for each hour worked during one or more
weeks of their employment with Defendant

84. Defendant willfully failed to pay Plaintiff minimum wage for one or
more weeks of work contrary to 29 U.S.C. § 206.

85 . As a direct and proximate result of Defendant’s deliberate
underpayment of wages, Plaintiff has been damaged in the loss of minimum
wages for one or more weeks of work with Defendant

COUNT III
UNJUST ENRICHMENT

86. Plaintiff reasserts and reincorporates by reference all allegations contained

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within paragraphs l through 70 above

87. This Court has Supplemental jurisdiction over Plaintiff s unjust enrichment
claims pursuant to 28 U.S.C. § 1367(a) because Plaintiff s unjust enrichment
claims form a part of the same case or controversy and arise out of the common
nucleus of operative facts as their minimum wage and overtime claims

88. Plaintiff and all others similarly situated to him performed off the clock as
referenced above

89. Plaintiff and all others similarly situated ASl\/l’s were not compensated for
these hours

90. Defendant knowingly accepted the ASl\/l’s off the clock work, but
Defendant did not compensate Plaintiff for this work.

91. Defendant has been unjustly enriched as a result of its accepting the work

of Plaintiff and other similarly situated employees without proper compensation
lt would be unjust to allow Defendant to enjoy the fruits of the collective class’
labor without proper compensation

92. Plaintiff’s unjust enrichment claim seeks unpaid straight time
compensation for the ASM’s off the clock work where Plaintiff made at least the

minimum wage for all hours worked.

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PRAYER FOR RELIEF
Wherefore, Plaintiff on behalf of himself and all other similarly situated
Collective Action Members and members of the Class, respectfully requests that
this Court grant the following relief:

a. Certification of this action as a class action pursuant to Fed. R. Civ.
P. 23(b)(2) and (3) on behalf of the members of the Class and
appointing Plaintiff and their counsel to represent the Class;

b. Designation of this action as a collective action on behalf of the
Collective Action Members and prompt issuance of notice pursuant
to 29 U.S.C. § 216(b) to all similarly situated members of an F_LSA
Opt-ln Class, appraising them of the pendency of this action,
permitting them to assert timely FLSA claims in this action by filing
individual Consents to Sue pursuant to 29 U.S.C._ §216(b) and
appointing Plaintiff and his counsel to represent the Collective

Action members;

c. An award of unpaid minimum wages and overtime compensation
due under the FLSA;
d. Straight time compensation under state law unjust enrichment for

time spent working off the clock for those workweeks where

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Plaintiff and the class members made at least the minimum wage for
all hours worked;

e. An award of liquidated and/or punitive damages as a result of the
Defendant’s willful failure to pay minimum wages and overtime
compensation pursuant to 29 U.S.C § 216;

f. An award of prejudgment and post judgment interest;

g. Declaratory relief pursuant to the DJA and FLSA finding that all
hours worked by Plaintiff and the class members should be paid at an
amount at least equal to the applicable minimum wage and that all
hours worked over forty in a workweek should be paid time and
one-half of an employees’ regular rate of pay;

h. An award of costs and expenses of this action together with
reasonable attorneys’ and expert fees; and

i. Such other and further relief as this Court deems just and proper.

DEMAND FOR TRIAL BY .]URY
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by the Complaint.

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Dated: July M, 2011.

Respectfully submitted by,

 

 

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